Case 2:03-CV-02561-.]DB-STA Document 154 Filed 07/12/05 Page 1 of 4 Page|D 138

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lN 'FHE UNITED STATES DlSTRICT COURT "'T D-C-
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

NACCO MA'I`ERIALS HANDLING
GROUP, INC., d/b/a YALE MATERIALS
HANDLING CORPORATION,

 

Plaintifi`,
v. NO. 03-2561- B A

T()YO'!`A MATERIALS HANDLING
USA, INC., and THE LILLY COMPANY,

Defendant.

 

()RDER ALLOWING THE LILLY C()MPANY TO FILE REPLY BRIEF

 

Upc)n Motion of Defendant, The Lilly Company (“Lilly”), for leave to file a
Reply Brief to Plaintiff’s Opposition to Lilly’S l\/lotion for Partial Summary Judgrnent ~
Nashville Agreernent, and the Court finding that the Motion Should be granted, it is
ORDERED that the Reply Brief submitted by Lilly shall be filed by the Clerk.

131
30 ENTERED THIS ll DAY OF `J ”»~Q‘w ,2005.

 

 

E STATES DISTRICT\ COURT JUDGE
D NIE J. BREEN

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UNITE STATES DISTRICT oURT - WESTERNDTISRICOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
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Honorable .1. Breen
US DISTRICT COURT

